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                             IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF MINNESOTA
                                                  PLEA HEARING
UNITED STATES OF AMERICA,                             )           COURT MINUTES - CRIMINAL
                      Plaintiff,                      )
                                                      )    Case No:               14-CR-345(2) (PJS/JSM)
                        v.                            )    Date:                  December 23, 2014
                                                      )    Court Reporter:        Debra Beauvais
Norinh Inthonepradith,                                )    Courthouse:            Minneapolis
                                     Defendant.       )    Courtroom:             14E
                                                      )    Time Commenced:        11:02 a.m.
                                                      )    Time Concluded:        11:45 a.m.
                                                           Sealed Hearing Time:
                                                           Time in Court:         Hours & 43 Minutes

Defendant’s true name if different from charging instrument:
9 Parties ordered to file stipulation or proposed order for name change.
9 Clerk of Court is directed to change name to:

Before Patrick J. Schiltz, United States District Judge, at Minneapolis, Minnesota.

APPEARANCES:
  For Plaintiff:    John Kokkinen
  For Defendant: David Schultz 9 FPD : CJA 9 Retained 9 Appointed
  Interpreter/Language: /
  9 Appointment of Counsel requested - 9 granted 9 denied.
  9 Appointed

PROCEEDINGS:
  9 Arraignment on 9 Information, 9 Indictment
  : Change of Plea Hearing.
  9 Initial Appearance.
  9 Indictment waived.
  9 Defendant withdraws plea of as to Count(s):

       : PLEA:
          : Guilty as to Counts: 1 and 14, remaining counts to be dismissed at sentencing.
          9 "Nolo Contendere" as to Count(s):
          9 Defendant admits allegations in the Information.

       :      Presentence Investigation and Report requested.
       9      Bond continued.
       9      ~Util Set/Reset Hearings: Sentencing is scheduled for at before.
       :      Defendant remanded to the custody of the U.S. Marshal.
                                                                                                       s/C. Glover
                                                                                                   Courtroom Deputy




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